     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Middle                District of _________________
             District of Alabama       (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                           
                                                           ✔
                                                           
                                                               Chapter 11
                                                               Chapter 12
                                                                                                                                    Check if this is an
                                                              Chapter 13                                                              amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                       06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         ACE   LINEN & DUST, L.L.C.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                            Mailing address, if different from principal place
                                                                                                   of business
                                               3350 Main Street                                    _______________________________________________
                                            ______________________________________________
                                            Number     Street                                      Number     Street

                                            ______________________________________________         _______________________________________________
                                                                                                   P.O. Box

                                               Millbrook                    AL   36054
                                            ______________________________________________         _______________________________________________
                                            City                        State    ZIP Code          City                      State      ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                               Elmore County
                                            ______________________________________________
                                            County                                                 _______________________________________________
                                                                                                   Number     Street

                                                                                                   _______________________________________________

                                                                                                   _______________________________________________
                                                                                                   City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


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                ACE LINEN & DUST, L.L.C.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            812331
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
      A debtor who is a “small business                       recent balance sheet, statement of operations, cash-flow statement, and federal income
      debtor” must check the first sub-                       tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
      box. A debtor as defined in
      § 1182(1) who elects to proceed                     
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
      under subchapter V of chapter 11                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
      (whether or not the debtor is a                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
      “small business debtor”) must                           of operations, cash-flow statement, and federal income tax return, or if
      check the second sub-box.                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

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                                                               for Non-Individuals         07/11/23
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              ACE LINEN & DUST, L.L.C.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000
                                             ✔
                                                                               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



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Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000
                                            ✔
                                                                                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              07/11/2023
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Brad Belyeu
                                                _____________________________________________               Brad Belyeu
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       Member
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Anthony Bush
                                                _____________________________________________              Date         07/11/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Anthony Bush
                                                _________________________________________________________________________________________________
                                                Printed name
                                                The Bush Law Firm, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                3198 Parliament Circle 302
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Montgomery
                                                ____________________________________________________           AL              36116
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                3342637733
                                                ____________________________________                              abush@bushlegalfirm.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                ASB-7306-a54b                                                  AL
                                                ______________________________________________________ ____________
                                                Bar number                                             State




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A-1 Products, Inc.
2020 Avenue F
Birmingham, AL 35218

American Dawn, Inc.
401 West Artesia Blvd.
Compton, CA 90220-5518

American Dawn, Inc. - c/o Eddie Rutherford
6355 Boatrock Blvd. SW
Atlanta, GA 30336

Brad Beyleu
737 A North Memorial Drive
Prattville
AL 36067

COPACO, INC.
Po Box 655
Manteno, IL 60950-0655

COPACO, INC. - c/o Grover Meszaros
415 Miller Road
Smithville, TN 37166

Ford Motor Credit Co.
PO Box 62180
Colorado Springs, CO 80962

Max Credit Union
PO Box 244040
Montgomery, AL 36124-4040

Max Credit Union
400 Eastdale Circle
Montgomery, AL 36117

River Bank and Trust
641 South Lawrence Street
Montgomery, AL 36104

Sanico Clanton, LLC
2007 7th Street North
Clanton, AL 35045

Sanico Clanton, LLC
100 Oxmoore Road
Suite 110
Birmingham, AL 35209

Sanico Clanton, LLC - c/o Jeff Smith
1651 McFarland Blvd. North
Tuscaloosa, AL 35406

United Textiles, Inc.
1322 Mt. Sinai Church Road
Shelby, NC 28152

Wholesale Textiles, Inc.
3610
Francis Circle
Alpharetta, GA 30004




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                             United States Bankruptcy Court
                             Middle District of Alabama




         ACE LINEN & DUST, L.L.C.
In re:                                                        Case No.

                                                              Chapter    11
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              07/11/2023                        /s/ Brad Belyeu
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Member
                                                Position or relationship to debtor




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